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By DEPUTY United States Attorney
District of Maryland
Southern Division
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Assistant United States Attorney

January 23, 2013

LaKeytria Felder, Esq.

Federal Public Defender’s Office
6411 Ivy Lane, Suite 710
Greenbelt, MD 20770

Re: | United States v. Amechi Onyeacholem,

Crim. No. _ _AW-\2-058t
Dear Ms. Felder:

This letter, together with the Sealed Supplement, confirms the plea agreement which
has been offered to the Defendant by the United States Attorney's Office for the District of Maryland
(“this Office”). Ifthe Defendant accepts this offer, please have her execute it in the spaces provided
below. If this offer has not been accepted by February 8, 2013, it will be deemed withdrawn. The
terms of the agreement are as follows:

Offenses of Conviction
l. The Defendant agrees to plead guilty to Counts Two and Three of the
Indictment now pending against her which charges her with false statement in a passport application,

in violation 18 U.S.C. § 1542, and aggravated identity theft, in violation of 18 U.S.C. § 1028A. The
Defendant admits that she is, in fact, guilty of these offenses and will so advise the Court.

Elements of the Offenses

2. The elements of the offenses to which the Defendant has agreed to plead
guilty, and which the United States would prove if the case went to trial, are as follows:
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Count Two (False Statement in a Passport Application): that (1) the defendant made a false
statement in an application for a United States passport; (2) the defendant made that false statement
with the intent to secure the issuance of a passport for her or her own use or for the use of another;
and (3) the defendant acted knowingly and willfully.

Count Three (Aggravated Identity Theft Offense): that (1) the defendant knowingly possessed
and/or used without legal authority a means of identification of another person or false identification
document; (2) the defendant knew that the means of identification belonged to a real person; and
(3) the defendant did so during and in relation to a specified felony, namely False Statement in a
Passport Application, as charged in Count Two of the Indictment, in violation of 18 U.S.C, § 1542.

Penalties
3. The sentences provided by statute for the offenses to which the Defendant is
pleading guilty are as follows:

Count Two (False Statement in a Passport Application): imprisonment for up to 10 years,
a term of supervised release of not more than three years, and a fine of $250,000.

Count Three (Aggravated Identity Theft): imprisonment for two years consecutive to any
other sentence imposed, a term of supervised release of not more than one year, and a fine of
$250,000.

In addition, the Defendant must pay $200 as a special assessment pursuant to 18 U.S.C. § 3013,
which will be due and should be paid at or before the time of sentencing. This Court may also order
her to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.’ Ifa fine or restitution is
imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. § 3572(d), the Court orders
otherwise. The Defendant understands that if she serves a term of imprisonment, is released on
supervised release, and then violates the conditions of her supervised release, her supervised release
could be revoked - even on the last day of the term - and the Defendant could be returned to custody
to serve another period of incarceration and a new term of supervised release. The Defendant
understands that the Bureau of Prisons has sole discretion in designating the institution at which the
Defendant will serve any term of imprisonment imposed.

Waiver of Rights

4, The Defendant understands that by entering into this agreement, she
surrenders certain rights as outlined below:

 

: Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(f)(3).

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a. Ifthe Defendant had persisted in her plea of not guilty, she would have
had the right to a speedy jury trial with the close assistance of competent counsel. That trial could
be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of
twelve individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily, All
twelve jurors would have to agree unanimously before the Defendant could be found guilty of any
count. The jury would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

c If the Defendant went to trial, the government would have the burden
of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government’s witnesses. The Defendant would not have to present
any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in her
defense, however, she would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in her own defense if
she so chose, and she would have the right to refuse to testify. If she chose not to testify, the Court
could instruct the jury that they could not draw any adverse inference from her decision not to testify.

e. If the Defendant were found guilty after a trial, she would have the
right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence
to see if any errors were committed which would require a new trial or dismissal of the charges
against her. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that she may have to
answer the Court’s questions both about the rights she is giving up and about the facts of her case.
Any statements the Defendant makes during such a hearing would not be admissible against her
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find her guilty.

h. By pleading guilty, the Defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that if she is not a citizen of the United States, pleading guilty may have
consequences with respect to her immigration status. Under federal law, conviction for a broad

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range of crimes can lead to adverse immigration consequences, including automatic removal from
the United States. Removal and other immigration consequences are the subject of a separate
proceeding, however, and the Defendant understands that no one, including her attorney or the Court,
can predict with certainty the effect of a conviction on immigration status. Defendant nevertheless
affirms that she wants to plead guilty regardless of any potential immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the “advisory guidelines range”) pursuantto the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose
a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt, and to the following sentencing guidelines factors:

Count Two (False Statement in a Passport Application):
a. The base offense level is 8 under U.S.S.G. § 212.2.

b. A 4-level enhancement applies under U.S.S.G. § 2L2.2(b)(3),
because the defendant both fraudulently obtained and used a United States passport.

C; This Office does not oppose a 2-level reduction in the Defendant’s
adjusted offense level, based upon the Defendant’s apparent prompt recognition and affirmative
acceptance of personal responsibility for her criminal conduct. This Office may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every item
in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting statements
about her involvement in the offense; (d) is untruthful with the Court, this Office, or the United
States Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages
in any criminal conduct between the date of this agreement and the date of sentencing; or (g)
attempts to withdraw her plea of guilty. If the Defendant obtains a two-point reduction her final
offense level for Count Two would be 10.

Count Three (Aggravated Identity Theft Offense): The guideline sentence is two
years, pursuant to U.S.S.G. § 2B1.6, because this is the term of imprisonment required by statute.
This sentence must be imposed consecutive to any sentence imposed for Count Two.
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de The Defendant understands that there is no agreement as to her criminal
history or criminal history category, and that her criminal history could alter her offense level if she
is a career offender or if the instant offense was a part of a pattern of criminal conduct from which
she derived a substantial portion of her income.

8. This Office and the Defendant agree that with respect to the calculation of
criminal history and the advisory guidelines range, no other offense characteristics, sentencing
guidelines factors, potential departures or adjustments set forth in the United States Sentencing
Guidelines will be raised or are in dispute. The Defendant reserves the right to argue for a sentence
outside of the advisory guidelines range, and will notify the Court, the United States Probation
Officer, and government counsel at least ten days in advance of sentencing of the facts or issues she
intends to raise.

Obligations of the United States Attorney’s Office

9. At the time of sentencing, this Office will recommend a sentence at the low
end of the applicable guideline imprisonment range on Count Two, and a mandatory minimum
consecutive sentence of two years imprisonment on Count Three.

10. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct.

Forfeiture

11. The defendant understands that the court will, upon acceptance of her guilty
plea, enter an order of forfeiture as part of her sentence, and that the order of forfeiture may include
assets directly traceable to her offense, substitute assets and/or a money judgment equal to the value
of the property derived from, or otherwise involved in, the offense. The defendant agrees to consent
to the entry of orders of forfeiture for such property and waives the requirements of Federal Rules
of Criminal Procedure 1 1(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

Assisting the Government with Regard to the Forfeiture

12. The Defendant agrees to assist fully in the forfeiture of the foregoing assets.
The Defendant agrees to disclose all of her assets and sources of income to the United States, and
to take all steps necessary to pass clear title to the forfeited assets to the United States, including but
not limited to executing any and all documents necessary to transfer such title, assisting in bringing
any assets located outside of the United States within the jurisdiction of the United States, and taking
whatever steps are necessary to ensure that assets subject to forfeiture are not sold, disbursed,
wasted, hidden or otherwise made unavailable for forfeiture. The Defendant further agrees that she

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will not assist any third party in asserting a claim to the forfeited assets in an ancillary proceeding
and that she will testify truthfully in any such proceeding.

Waiver of Further Review of Forfeiture

13. The defendant further agrees to waive all constitutional, legal and equitable
challenges (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out
in accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment. The defendant also agrees not to challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this agreement, and will not
assist any third party with regard to such challenge or review or with regard to the filing of a petition
for remission of forfeiture.

Waiver of Appeal

14. Inexchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C.
§ 1291 or otherwise, to appeal the Defendant’s conviction;

b. The Defendant and this Office knowingly waive all right, pursuant to
18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the determination of the
defendant’s criminal history, the weighing of the sentencing factors, and the decision whether to
impose and the calculation of any term of imprisonment, fine, order of forfeiture, order of restitution,
and term or condition of supervised release), except as follows: (1) the Defendant (a) reserves the
right to appeal any aggregate term of imprisonment imposed to the extent that it exceeds the range
provided for by offense level 10 plus 24 months, and (ii) this Office reserves the right to appeal any
aggregate term of imprisonment imposed to the extent that it is less than the range provided for by
offense level 10 plus 24 months.

€. Nothing in this agreement shall be construed to prevent the Defendant
or this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.

d. The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.
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Obstruction or Other Violations of Law

 

15. The Defendant agrees that she will not commit any offense in violation of
federal, state or local law between the date of this agreement and her sentencing in this case. In the
event that the Defendant (I) engages in conduct after the date of this agreement which would justify
a finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for her conduct by failing to acknowledge her guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations other
than those set out in this agreement. As with any alleged breach of this agreement, this Office will
bear the burden of convincing the Court of the Defendant’s obstructive or unlawful behavior and/or
failure to acknowledge personal responsibility by a preponderance of the evidence. The Defendant
acknowledges that she may not withdraw her guilty plea because this Office is relieved of its
obligations under the agreement pursuant to this paragraph.

Court Not a Party

16. | The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office nor
the Court is bound by the stipulation set forth above, and that the Court will, with the aid of the
Presentence Report, determine the facts relevant to sentencing. The Defendant understands that the
Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to the
determination of sentence. Rather, in determining the factual basis for the sentence, the Court will
consider the stipulation, together with the results of the presentence investigation, and any other
relevant information. The Defendant understands that the Court is under no obligation to accept this
Office’s recommendations, and the Court has the power to impose a sentence up to and including
the statutory maximum stated above. The Defendant understands that if the Court ascertains factors
different from those contained in the stipulation set forth above, or if the Court should impose any
sentence up to the maximum established by statute, the Defendant cannot, for that reason alone,
withdraw her guilty plea, and will remain bound to fulfill all of her obligations under this agreement.
The Defendant understands that neither the prosecutor, her counsel, nor the Court can make a
binding prediction, promise, or representation as to what guidelines range or sentence the Defendant
will receive. The Defendant agrees that no one has made such a binding prediction or promise,

Entire Agreement

Ly. This letter supersedes any prior understandings, promises, or conditions
between this Office and the Defendant and, together with the Sealed Supplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Office other

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than those set forth in this letter and the Sealed Supplement and none will be entered into unless in
writing and signed by all parties.

If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Rod J. Rosenstein
United States Attorney

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dam K. Ake
Assistant United States Attorney

| have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and | do not wish to
change any part of it. | am completely satisfied with the representation of my attorney.

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Date Amechi Onyeacholem~—

I am Amechi Onyeacholem’s attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement, with her. She advises me that she understands and
accepts its terms. To my knowledge, her decision to enter into this agreement is an informed and
voluntary one.

Zan fale tn WwW, felhir

Date LaKeytria Felder, Esq.

 
